Case 1:16-cr-20549-RNS Document 1707 Entered on FLSD Docket 05/08/2023 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     Case No.: 16-20549-CR-SCOLA/OTAZO-REYES

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  PHILIP ESFORMES et al,

         Defendants.
                                    /

   HOLLAND & KNIGHT LLP’S MOTION TO WITHDRAW AS COUNSEL
              FOR DEFENDANT PHILIP ESFORMES

        COME NOW Holland & Knight LLP (“Holland & Knight”), William F.

  Gould, Nicholas R. Boyd, and Alec M. Puig (who appears solely for the purpose of

  filing this motion) and, pursuant to Local Rule 11.1(d)(3)(A), move to withdraw as

  counsel for Defendant Philip Esformes.

        Holland & Knight LLP was retained as appellate counsel for Esformes on

  March 5, 2020, made an appearance as Esformes as co-counsel for Esformes on or

  about April 2, 2020 (DE##1484–1489), and has addressed certain aspects of this

  pending criminal matter since then. In July 2022 (DE#1673, DE#1675), this Court

  granted Esformes’ motion that four counsel from Reed Smith LLP should replace

  Black Srebnick as lead counsel. Given that Esformes is well-represented by existing

  counsel, the undersigned firm moves to withdraw as co-counsel for Defendant,
Case 1:16-cr-20549-RNS Document 1707 Entered on FLSD Docket 05/08/2023 Page 2 of 3




  Philip Esformes. We have discussed this matter with Reed Smith LLP and were

  informed that they have no objection to the withdrawal.

        WHEREFORE, Holland & Knight and its attorneys request that the Court

  enter an order granting this Motion, permitting Holland & Knight and its attorneys

  to withdraw as counsel for Esformes, and relieving Holland & Knight of all further

  responsibility for the representation of Esformes.

        Respectfully submitted this May 8, 2023.

                                           /s/ Alec M. Puig
                                           Alec M. Puig
                                           Florida Bar No. 1003509
                                           Holland & Knight LLP
                                           701 Brickell Avenue, Ste. 3300
                                           Miami, Florida 33131
                                           Telephone: 305-789-7558
                                           alec.puig@hklaw.com

                                           William F. Gould (pro hac vice)
                                           Holland & Knight LLP
                                           800 17th Street NW, Ste. 1100
                                           Washington, DC 20006
                                           Telephone: 202-419-2577
                                           william.gould@hklaw.com

                                           Nicholas R. Boyd (pro hac vice)
                                           Holland & Knight LLP
                                           1180 W Peachtree Street NW, Ste. 1800
                                           Atlanta, Georgia 30309
                                           Telephone: 404-817-8533
                                           nicholas.boyd@hklaw.com
Case 1:16-cr-20549-RNS Document 1707 Entered on FLSD Docket 05/08/2023 Page 3 of 3




                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was

  served by CM/ECF, on May 8, 2023, on all counsel or parties of record on the

  service list.

                                                /s/ Alec M. Puig
                                                Alec M. Puig
